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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

 Case No. 8:19-cv-00098-JLS-DFM                                        Date: June 06, 2019
 Title: Mariano Benitez v. Powerline Funding, LLC

 Present: Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

         Terry Guerrero                                                  N/A
         Deputy Clerk                                               Court Reporter

 ATTORNEYS PRESENT FOR PLAINTIFF:                ATTORNEYS PRESENT FOR DEFENDANT:

          Not Present                                               Not Present

 PROCEEDINGS: (IN CHAMBERS) ORDER DENYING DEFENDANT’S
              MOTION TO DISMISS (Doc. 28)

        Before the Court is a Motion to Dismiss filed by Defendant Powerline Funding,
 LLC. (Mot., Doc. 28.) Plaintiff Mariano Benitez opposed (Opp., Doc. 30) and
 Defendant replied (Reply, Doc. 31). 1 For the following reasons, the Court DENIES
 Defendant’s Motion.
        Plaintiff, a California resident, brings this putative nationwide class action against
 Defendant under the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227.
 (Compl. ¶¶ 2, 30–43, Doc. 1.) Defendant’s Motion seeks to dismiss for lack of specific 2
 personal jurisdiction the “claims of all putative class members who are not California
 residents and who were not allegedly injured in California . . .” (Mot. ii.) In the
 alternative, Defendant seeks to strike the nationwide class allegations. (Id.)
        Defendant’s Motion is predicated entirely on the Supreme Court’s decision in
 Bristol-Myers Squibb Co. v. Superior Court, 137 S. Ct. 1773 (2015). There, the Court
 held − in a nationwide mass tort action for alleged injuries from the drug Plavix − that a
 California state court could not exercise specific jurisdiction over non-California
 residents where there was not an “adequate link” between the non-residents claims and
 California. Id. at 1781. Specifically, “the nonresidents were not prescribed Plavix in


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  The Court finds this matter appropriate for decision without oral argument and thus the hearing
 set for June 7, 2019, at 10:30 a.m., is VACATED. Fed. R. Civ. P. 78(b); C.D. Cal. R. 7-15.
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  There is no dispute that the Court lacks general jurisdiction over Defendant. (See Opp. at 9.)
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 California, did not purchase Plavix in California, did not ingest Plavix in California, and
 were not injured by Plavix in California.” Id. Thus, Defendant argues that the non-
 California-resident putative class members in this case have no connection to California,
 and the Court should dismiss their claims or strike the nationwide class allegations.
 (Mem. at 8.)
         As noted by Justice Sotomayor’s dissent in Bristol-Myers, “[t]he Court . . . does
 not confront the question whether its opinion here would also apply to a class action in
 which a plaintiff injured in the forum State seeks to represent a nationwide class of
 plaintiffs not all of whom were injured there.” Bristol-Myers, 137 S. Ct. at 1789 n.4
 (Sotomayor, J., dissenting). “Although the Ninth Circuit has not addressed this question,
 the weight of authority examining this issue has concluded that Bristol-Myers does not
 apply to class actions.” 3 Sotomayor v. Bank of Am., N.A., No. CV1900541CJCGJSX,
 2019 WL 1985115, at *2 (C.D. Cal. May 3, 2019) (declining to apply Bristol-Myers to
 nationwide TCPA class action) (citing Cabrera v. Bayer Healthcare, LLC, Case No. LA
 CV17-08525 JAK (JPRx), 2019 WL 1146828, at *7–8 (C.D. Cal. Mar. 6, 2019)
 (collecting cases)). The Sotomayor court identified two key elements that courts have
 relied upon to distinguish class actions from mass tort actions for purposes of personal
 jurisdiction; namely, the difference in status of plaintiffs and unnamed class members,
 and the due process safeguards built into Rule 23 of the Federal Rules of Civil Procedure.
 See id. The Court finds these distinctions persuasive.
         First, each plaintiff in a mass tort action is a “real party in interest.” Id. Due to the
 representative nature of class actions, however, the named plaintiffs are the only real


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   Defendant cites to district courts that have concluded that Bristol-Myers applies to class
 actions. (See, e.g., Mem. at 8–10 (citing Practice Mgmt. Support Services, Inc. v. Cirque du
 Soleil, Inc., 301 F. Supp. 3d 840 (N.D. Ill. 2018); Am.’s Health & Res. Ctr., Ltd. v. Promologics,
 Inc., 2018 WL 3474444 (N.D. Ill. July 19, 2018); Chavez v. Church & Dwight Co., Inc., 2018
 WL 2238191 (N.D. Ill. May 16, 2018); In re Dental Supplies Antitrust Litig., 2017 WL 4217115
 (E.D.N.Y. Sept. 20, 2017)).) As Sotomayor noted, however, “[m]ost of these decisions come
 from the Northern District of Illinois and build off each other.” Sotomayor, 2019 WL 1985115
 at *2 n.2. Further, “[d]istrict courts throughout the Ninth Circuit . . . have consistently disagreed
 with this line of authority.” Id. (collecting cases). For the reasons expressed herein, the Court
 finds the cases that have declined to apply Bristol-Myers to class actions more persuasive.
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 parties in interest. See id. “It is well-settled that an individual is not considered a party in
 every factual or legal setting.” Cabrera, 2019 WL 1146828, at *8 (citing Devlin v.
 Scardelletti, 536 U.S. 1, 9–10 (2002)); see also Phillips Petroleum Co. v. Shutts, 472 U.S.
 797, 811 (1985) (holding that a court “may exercise jurisdiction over the claim of an
 absent class-action plaintiff, even though that plaintiff may not possess the minimum
 contacts with the forum which would support personal jurisdiction over a defendant”).
 Thus, “while the claims of nonresident plaintiffs were pertinent to the issue of specific
 jurisdiction in Bristol-Myers, the claims of unnamed class members are not implicated in
 the question of specific jurisdiction in a class action.” Sotomayor, 2019 WL 1985115, at
 *2.
         Second, Federal Rule of Civil Procedure 23 “imposes additional due process
 safeguards on class actions, i.e., numerosity, commonality, typicality, adequacy of
 representation, predominance and superiority, that do not exist in the mass tort context.”
 Cabrera, 2019 WL 1146828, at *8. “At its core, ‘[p]ersonal jurisdiction is rooted in
 fairness to the defendant, and Rule 23 provides significant safeguards to that end.’”
 Sotomayor, 2019 WL 1985115, at *2 (quoting Allen v. ConAgra Foods, Inc., 2018 WL
 6460451, at *7 (N.D. Cal. Dec. 10, 2018)). 4
         Indeed, applying Bristol-Myers to class actions “would radically alter the existing
 universe of class action law.” Id. at *3. Bristol-Myers, however, merely applied “settled
 principles” and, absent controlling authority to the contrary, the Court declines to read
 Bristol-Myers as effectively ending the nationwide class action. See 137 S. Ct. at 1781,
 1783; see also Sloan, 287 F. Supp. 3d at 845 (“[T]he Supreme Court expressly stated that
 its decision did not inaugurate a change in law.”); Sotomayor, 2019 WL 1985115, at *3
 (“Bristol-Myers does not suggest any intent to dramatically curtail the availability of the
 class action device, requiring class actions, even those involving federal questions in

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   Some courts have questioned whether Bristol-Myers ever applies in federal court because the
 decision “was animated by unique interstate federalism concerns.” See, e.g., Sloan v. General
 Motors, LLC, 287 F. Supp. 3d 840, 858 (N.D. Cal. 2018). Indeed, Bristol-Myers left “open the
 question whether the Fifth Amendment imposes the same restrictions on the exercise of personal
 jurisdiction by a federal court.” 137 S Ct. at 1784. However, because the Court concludes that
 Bristol-Myers does not apply to class actions, it need not decide whether it applies in federal
 court generally.
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 federal court, to be filed in each state or only in the state in which the defendant is
 incorporated or has its principal place of business.”).
         Accordingly, for the foregoing reasons, the Court declines to extend Bristol-Myers
 to class actions and Defendant’s Motion is DENIED.
                                                                     Initials of Preparer:




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